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IN THE UNITED STATES DISTRICT coURT F`lf-EW'Y.__\
FoR THE wEsTERN DISTRICT oF TENNESSEE l

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UNITED STATES OF AMERICA,
Plaintiff,
vs.

CR. NO. O4-20397~Ma

FREDDIE FORD,
DAVID HERNANDEZ,

-.__,~..-\_/~_/~__,~.,`_/~_,~./-_/

Defendants.

 

ORDER ON CONTIN'UANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period fron\ March. 25, 2005 through June l7, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this lq|: ` day of May, 2005.

MM/M/L___

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
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Honorable Samuel Mays
US DISTRICT COURT

